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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO. 1:14-CR-00103-LJO-SKO

12                                Plaintiff,           FINAL ORDER OF FORFEITURE

13                         v.

14   LARRY DUNCAN,

15                                Defendant.

16

17          WHEREAS, on March 11, 2016, the Court entered a Preliminary Order of Forfeiture, pursuant to

18 the provisions of 21 U.S.C. § 853, based upon the plea agreement entered into between plaintiff and

19 defendant Larry Duncan, forfeiting to the United States the following property:

20                 a.     One 10 carat yellow gold 28” long rope chain necklace, with 10 carat yellow gold
                          pendant depicting an agent and set with diamonds;
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                   b.     One 10 carat yellow gold 36” long ball-link necklace, with 10 carat yellow gold
22                        pendant depicting Jesus’ head and set with diamonds;
23                 c.     One 10 carat yellow gold 34” long curb-link necklace, with 10 carat yellow gold
                          pendant depicting Jesus’ head and set with diamonds;
24
                   d.     One 10 carat yellow gold 38” long square open foxtail-link necklace, with 10
25                        carat yellow gold pendant depicting a cross and set with diamonds;
26                 e.     One 18 carat yellow gold Rolex President Day-Date watch set with a diamond
                          dial, diamond bezel, and a jubilee bracelet, and
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                   f.     One 10 carat yellow gold grill set (composed of both the top teeth cap grill and
28                        the bottom teeth cap grill) and set with diamonds.


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 1          AND WHEREAS, beginning on March 17, 2016, for at least 30 consecutive days, the United

 2 States published notice of the Court’s Order of Forfeiture on the official internet government forfeiture

 3 site www.forfeiture.gov. Said published notice advised all third parties of their right to petition the

 4 Court within sixty (60) days from the first day of publication of the notice for a hearing to adjudicate the

 5 validity of their alleged legal interest in the forfeited property;

 6          AND WHEREAS, the Court has been advised that no third party has filed a claim to the subject

 7 property and the time for any person or entity to file a claim has expired;

 8          Accordingly, it is hereby ORDERED and ADJUDGED:

 9          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of America all

10 right, title, and interest in the above-listed property pursuant to 21 U.S.C. § 853, to be disposed of

11 according to law, including all right, title, and interest of Larry Duncan.

12          2.      All right, title, and interest in the above-listed property shall vest solely in the name of the

13 United States of America.

14          3.      The United States Marshals Service shall maintain custody of and control over the

15 subject property until it is disposed of according to law.

16 IT IS SO ORDERED.

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        Dated:     June 27, 2016                               /s/ Lawrence J. O’Neill _____
18                                                  UNITED STATES CHIEF DISTRICT JUDGE
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      FINAL ORDER OF FORFEITURE                            2
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